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at Mereer. The purpose of the meeting was to introduce myself as the hotel’s new Mercer contact
and to discuss the hotel’s ongoing relationship With Mercer.

6. During the meeting, I learned that Steed and Preston called the hotel client to
inform the client of their departure from Mercer.

7 . On January 31, 2018, I had a second meeting with the Director of feldman
Resources and the Controller for the hotel client Dino Catozzo, a Prineipal and the Florida Sales
Leacler for Mercer joined me at the meeting to discuss expanding our relationship with the hotel
client

8. ln our January 313t meeting, the hotel client’s representatives acknowledged that
they met with Steed and Preston, following Steed’s and Preston’s resignations from Mercer, and
that Steed and Preston attempted to sell health and benefits services on behalf of Loekton
Companies, which were of a type sold and provided by Mercer.

Dated; February 26, ?.Ol 8
S'enrise, Florida

 

 

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